                                         Case 16-13048-RBR                      Doc 6         Filed 03/10/16                Page 1 of 1


 Fill in this information to identify the case:
 Debtor name Transportation Specialist Group, Inc.
 United States Bankruptcy Court for the: SOUTHERN DISTRICT OF                                                                                    Check if this is an
                                               FLORIDA, FORT LAUDERDALE
                                               DIVISION
 Case number (if known): 16-13048-RBR                                                                                                                amended filing




Official Form 204
Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and
Are Not Insiders                                                                           12/15

A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which
the debtor disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do
not include claims by secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor
among the holders of the 20 largest unsecured claims.

 Name of creditor and           Name, telephone number Nature of claim                  Indicate if claim   Amount of claim
 complete mailing address,      and email address of   (for example, trade debts,        is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code             creditor contact       bank loans, professional         unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                       services, and government             disputed        value of collateral or setoff to calculate unsecured claim.
                                                       contracts)                                           Total claim, if            Deduction for value         Unsecured claim
                                                                                                            partially secured          of collateral or setoff
 Andrew J. Winkler &                                              Bank loan                                       $526,982.02                $634,990.00                         $0.00
 Carole I. Winkler
 4030 W Palm Aire
 Dr Apt 504
 Pompano Beach, FL
 33069-4169
 Bank of Lake Mills                                               Bank loan            Disputed                   $125,000.00                $634,990.00                 $16,992.02
 136 E Madison St
 Lake Mills, WI
 53551-1644
 City of Pompano     Office Of The                                                     Disputed                   $120,000.00                $634,990.00               $120,000.00
 Beach, Florida      Special Magistrate
 100 W Atlantic Blvd
 Ste 420
 Pompano Beach, FL
 33060-6099




Official form 204                               Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 1

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